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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF GEORGIA

ATLANTA DIVISION

)
UNITED STATES OF AMERICA ) JUDGMENT IN A CRIMINAL CASE
v. ) Case Number: 1:20-CR-0481-SCJ-02

) — USMNumber: 21517-509
ELDRIDGE MAURICE BENNETT )

) Dwight Thomas

) Defendant’s Attorney
THE DEFENDANT:
The defendant pleaded guilty to count(s) 7.
The defendant is adjudicated guilty of these offenses:
Title & Section Nature of Offense Offense Ended Count
18 U.S.C. § 1957 Money Laundering September 1, 2020 7

The defendant

is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant

to the Sentencing Reform Act of 1984.

Counts 3-6 are

dismissed pursuant to the terms of the plea agreement.

It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any

change of nam
by this judgme
Attorney of m:

1e, residence, or mailing address until all fines, restitution, costs, and special assessments imposed
nt are fully paid. If ordered to pay restitution, the defendant must notify the court and United States
aterial changes in economic circumstances.

December 4, 2023

Date tie C

Sign4ture of Judge Z

STEVE C. JONES, U.S. DISTRICT JUDGE
Name and Title of Judge

Ketrtn 4 2623

Date

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DEFENDANT: ELDRIDGE MAURICE BENNETT

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Judgment in a Criminal Case

Sheet 2 -- Imprison

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Prisons: Asn

ment

IMPRISONMENT

fendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for
FORTY-EIGHT (48) MONTHS.

urt makes the following recommendations to the Bureau of Prisons: that defendant be designated
lity in or near Atlanta, Georgia for service of sentence; and that defendant participate in the
ug Abuse Program (RDAP) while incarcerated.

fendant shall surrender for service of sentence at the institution designated by the Bureau of
otified by the United States Marshal.

RETURN
I have executed this judgment as follows:
Defendant delivered on to
at

, with a certified copy of this judgment.

UNITED STATES MARSHAL

DEPUTY UNITED STATES MARSHAL

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Judgment in a Criminal Case
Sheet 3 -- Supervised Release

SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of: THREE (3) YEARS.

MANDATORY CONDITIONS

You must not commit another federal, state or local crime.

You must not unlawfully possess a controlled substance.

You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within

15 days of release from imprisonment and at least two periodic drug tests thereafter, as determined by the

court.

4. You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing
a sentence of restitution. Restitution payments must be made to Clerk, U.S. District Court, Northern District
of Georgia, 2211 U.S. Courthouse, 75 Ted Turner Dr. SW, Atlanta, GA 30303.

5. You must cooperate in the collection of DNA as directed by the probation officer.

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You must comply with the standard conditions that have been adopted by this court as well as with any other
conditions on the attached page. .

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DEFENDANT: ELDRIDGE MAURICE BENNETT

CASE NUMBER:

As part of your
imposed because

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STANDARD CONDITIONS OF SUPERVISION

Judgment -- Page 4 of 6

supervised release, you must comply with the following standard conditions of supervision. These conditions are
they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed

by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.

we

You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different
time frame. .

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
and when you must report to the probation officer, and you must report to the probation officer as instructed.

You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
from the court or the probation officer.

You must answer truthfully the questions asked by your probation officer.

You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
notifying the probation officer in advance is-not possible due to unanticipated circumstances, you must notify the probation
officer within 72 hours of becoming aware of a change or expected change.

You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.

You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or your
job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer
at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.

8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of
the probation officer.

9. Ifyou are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
nunchakus or tasers).

11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact
the person and confirm that you have notified the person about the risk.

13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A USS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised

Release Conditions, available at: Www.uscourts.gov

I understand that

a violation of any of these conditions of supervised release may result in modification, extension, or revocation of my

term of supervision.

Defendant's Sig

USPO's Signatt

Date

Date

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DEFENDANT: ELDRIDGE MAURICE BENNETT
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SPECIAL CONDITIONS OF SUPERVISION
As part of your supervised release, you must.comply with the following special conditions of supervision.

You must make full and complete disclosure of your finances and submit to an audit of your financial documents
at the request of your probation officer. You must provide the probation officer with full and complete access to
any requested financial information and authorize the release of any financial information. The probation office
may share the financial information with the United States Attorney's Office.

You must not incur new credit charges, or open additional lines of credit without the approval of the probation
officer.

You must pay any ordered financial penalties in accordance with the Schedule of Payments sheet of the Judgment.
Payment of criminal monetary penalties is due during the period of imprisonment. All criminal monetary
penalties, except those payments made through the Federal Bureau of Prisons’ Inmate Financial Responsibility
Program, are to be made payable to the Clerk, U.S. District Court, 2211 U.S. Courthouse, 75 Ted Turner Drive,
SW, Atlanta, GA 30303. Any balance that remains unpaid at the commencement of the term of supervision shall
commence within 60 days after release from imprisonment on the following terms: payable at a rate of no less
than $200.00 monthly to U.S. District Court Clerk. You must notify the Court of any changes in economic
circumstances that might affect the ability to pay this financial penalty.

You must submit your person, property, house, residence, vehicle, papers, computers (as defined in 18 U.S.C. §
1030(e)(1)), other electronic communications or data storage devices or media, or office, to a search conducted
by a United States Probation Officer. Failure to submit to a search may be grounds for revocation of release.
You must warn any other occupants that the premises may be subject to searches pursuant to this condition. An
officer may conduct a search pursuant to this condition only when reasonable suspicion exists that you violated a
condition of your supervision and that areas to be searched contain evidence of this violation. Any search must
be conducted at a reasonable time and in a reasonable manner.

You must permit confiscation and/or disposal of any material considered to be contraband or any other item which
may be deemed to have evidentiary value of violations of supervision.

You must refrain from excessive use of alcohol.

DEFENDANT: El

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UDRIDGE MAURICE BENNETT

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Judgment in a Crim:

Sheet 5 -- Criminal

The defendant

TOTAL

The Court find
waives the fine

TOTAL

TOTAL

If the defendan
specified other
§ 3664(), all n

Name of Paye

inal Case
Monetary Penalties

CRIMINAL MONETARY PENALTIES

must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Special Assessment

$100.00

is that the defendant does not have the ability to pay a fine and cost of incarceration. The Court
and cost of incarceration in this case.

Fine

$0

Restitution

$11,000,000.00, joint and several with codefendants Arthur Cofield and Eliayah Bennett.

tt makes a partial payment, each payee shall receive an approximately proportioned payment, unless
‘wise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C.

onfederal victims must be paid before the United States is paid.

=e Restitution Ordered

Charles Schwab

$11,000,000.00

Fraud Investigators
3000 Schwab Way
Westlake, Texas 76262
Attn: Fraud Risk

Management

(Operations

i
{
|

*Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
**Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

***Findings for the
September 13, 199.

> total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
4, but before April 23, 1996.
